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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

                            COURT FILE NO.: 15-cv-01057-MEH

   Edgar Rivera, on behalf of himself
   and all others similarly situated,
          Plaintiff

   v.

   Exeter Finance Corp.,
          Defendant
   ________________________________________________________________________

                    PLAINTIFF’S NOTICE OF SETTLEMENT
   ________________________________________________________________________

          Plaintiff Edgar Rivera and Defendant Exeter Finance Corp. have reached a

   settlement in this case. Plaintiff respectfully requests that this Court allow sixty (60) days

   within which to complete the settlement, during which time Plaintiff requests the Court to

   retain jurisdiction over this matter until fully resolved and final dismissal paperwork may

   be filed



   Dated: December 23, 2021
                                        Respectfully submitted,

                                        s/ Russell S. Thompson, IV
                                        Russell S. Thompson, IV
                                        Thompson Consumer Law Group, PC
                                        11445 E Via Linda, Ste. 2 #492
                                        Scottsdale, AZ 85259
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                                 CERTIFICATE OF SERVICE

         I certify that on December 23, 2021, I filed the foregoing document with the Court

   using CM/ECF, which will send notification of such filing to all counsel of record.

                                     s/ Russell S. Thompson, IV
                                     Russell S. Thompson, IV




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